                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-2188
                     Lower Tribunal No. 2022-CC-880-EV
                      _____________________________

                                USGF 4, LLC,

                                  Appellant,

                                      v.

                       MV ROLLING OAKS RETAIL, LLC,

                                  Appellee.

                      _____________________________

               Appeal from the County Court for Osceola County.
                         Stefania C. Jancewicz, Judge.

                               August 27, 2024

PER CURIAM.

      AFFIRMED.

STARGEL, WOZNIAK and BROWNLEE, JJ., concur.


Robin F. Hazel, of Hazel Law, P.A., Hollywood, and Thomas C. Allison, of Thomas
C. Allison P.A., of Orlando, for Appellant.

Ronald D. Edwards, Jr., of Lowndes, Drosdick, Doster, Kantor &amp; Reed, P.A.,
Orlando, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF FILED
